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 1                                                                 JUDGE RICHARD A. JONES
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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 6
 7   UNITED STATES OF AMERICA,                        )   No. CR16-171-RAJ
                                                      )
 8                    Plaintiff,                      )
                                                      )   ORDER GRANTING
 9               v.                                   )   MOTION TO SEAL DEFENDANT’S
                                                      )   SENTENCING MEMORANDUM
10   RICARDO GERARDO-GALLARDO,                        )
                                                      )
11                    Defendant.                      )
                                                      )
12                                                    )
13
14           THIS MATTER has come before the undersigned on the motion of Defendant
15   Ricardo Gerardo-Gallardo to file Defendant’s Sentencing Memorandum, which was
16   filed at Dkt. 63, under seal until further order of the Court. The Court has considered
17   the motion and records in this case and finds there are compelling reasons to file the
18   document under seal.
19           Therefore, IT IS ORDERED that Defendant’s Motion to Seal (Dkt. #65) is
20   GRANTED and Defendant’s Sentencing Memorandum shall remain filed under seal.
21           DATED this 27th day of January, 2017.
22
23
                                                           A
                                                           The Honorable Richard A. Jones
24                                                         United States District Judge
25
26

                                                                     FEDERAL PUBLIC DEFENDER
      ORDER TO SEAL DEFENDANT’S                                         1601 Fifth Avenue, Suite 700
      SENTENCING MEMORANDUM                                               Seattle, Washington 98101
      Gerardo–Gallardo, et al. / CR16-171-RAJ - 1                                    (206) 553-1100
